                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                NORTHERN DIVISION

                                    NO. 2:94-CR-00015-FL-9

   UNITED STATES OF AMERICA

      v.                                                   SUBSTITUTION OF COUNSEL

   RODERICK BLACK


       Pursuant to Local Rule 44.1(b), the Office of the Federal Public Defender for the Eastern

District of North Carolina hereby notifies this Honorable Court that said attorney is representing

the above-named defendant for the limited purpose of representation as set forth within Standing

Order 19-SO-3 in this criminal case in lieu of Andrew K. Kukorowski.

       Furthermore, by filing of this Notice of Appearance, the Office of the Federal Public

Defender for the Eastern District of North Carolina certifies that a copy of said Notice has been

served upon:

ROBIN PENDERGRAFT
Assistant United States Attorney
United States Attorney’s Office
150 Fayetteville Street, Suite 2100
Raleigh, North Carolina 27601
USANCE-FIRSTSTEPACT2018@USDOJ.GOV

by electronically filing the foregoing with the Clerk of Court on May 8, 2020, using the CM/ECF
system which will send notification of such filing to the above.

       Respectfully submitted this 8th day of May, 2020.

                                             G. ALAN DUBOIS
                                             Federal Public Defender

                                             /s/ Katherine Shea
                                             KATHERINE SHEA
                                             Assistant Federal Public Defender
                                             Attorney for Defendant
                                             Office of the Federal Public Defender
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           Case 2:94-cr-00015-FL Document 655 Filed 05/08/20 Page 1 of 2
                           Member of New York State Bar
                           LR 57.1 Counsel Appointed




Case 2:94-cr-00015-FL Document 655 Filed 05/08/20 Page 2 of 2
